     Case 3:21-cv-00050-M-BT Document 13 Filed 10/20/21            Page 1 of 1 PageID 96



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

SYED HOSAIN ALI,                                 §
             Petitioner,                         §
                                                 §
v.                                               §     No. 3:21-cv-00050-M (BT)
                                                 §
JIMMY JOHNSON,                                   §
             Respondent.                         §


               ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE

         The Court has taken under consideration the Findings, Conclusions, and Recommendation

 of United States Magistrate Judge Rebecca Rutherford dated September 24, 2021. The Court has

 reviewed the Findings, Conclusion, and Recommendation for plain error and has found none.

         IT IS, THEREFORE, ORDERED that the Findings, Conclusions, and Recommendation

 of the United States Magistrate Judge are accepted.

         SO ORDERED this 20th day of October, 2021.
